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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:25-M -00923(1)
                                                            §
(1) Alejandro Hernandez- Suarez                             §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about March 27, 2025 in Maverick county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, an alien, did knowingly and willfully enter the United States at a time and place

other than as designated by Immigration Officers for entry into the United States, a misdemeanor,



in violation of Title             8            United States Code, Section(s)     1325(a)(1)

.

                I further state that I am a(n) Border Patrol Agent, BROWN, WESLEY and that this complaint is

based on the following facts: "On or about March 27, 2025 , the defendant, Alejandro HERNANDEZ- Suarez,

an alien who is a native and citizen of Cuba , entered the United States illegally from the Republic of Mexico

by crossing the Rio Grande River at a time and place other than as designated by Immigration Officers near

Eagle Pass, Texas.




Sworn to before me and subscribed in my presence,                          /s/ BROWN, WESLEY
                                                                           Signature of Complainant
                                                                           BROWN, WESLEY
                                                                           Border Patrol Agent

03/31/2025                                                            at   DEL RIO, Texas
File Date                                                                  City and State



JOSEPH A CORDOVA                                                           ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
